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                                                              July 17, 2023

 VIA ECF
 Honorable Michael B. Kaplan, U.S.B.J.
 United States Bankruptcy Court for the District of New Jersey
 402 East State Street
 Courtroom #8
 Trenton, N.J. 08608

         Re:      In re LTL Management LLC
                  Bankr. Case No.: 23-12825-MBK

 Dear Judge Kaplan:

       As the Court is aware, this firm is counsel to Randi S. Ellis, in her capacity as the
 Legal Representative for Future Talc Claimants (“FCR”), in the above-referenced case.
 We write in opposition to the Motion of Maune Raichle Hartley French & Mudd, LLC
 (“MauneRaichle”) to Disqualify Ms. Ellis as Legal Representative for Future Talc
 Claimants, filed on July 12, 2023 [D.I. 1022] (the “Motion”).

         The Motion is nothing more than a continuation of Mr. Thompson’s campaign to
 smear, threaten and intimidate the FCR and erode the public’s confidence in this Court
 and the integrity of the bankruptcy process. Mr. Thompson has repeatedly and baselessly
 harassed the FCR and invoked rhetoric that risks eliciting continued threats directed at
 this Court and the FCR.1 His behavior has repeatedly crossed the boundaries of
 advocacy. He has made clear from his words and actions that he is not interested in
 participating in this bankruptcy process and has no respect for the FCR or this Court’s
 rulings.

        The FCR’s responsibility is to represent the interests of future talc claimants. All
 of the FCR’s actions have been, and will continue to be, directed at achieving the best
 outcome for future talc claimants, whether through support for a bankruptcy plan or
 otherwise. Mr. Thomson refuses to accept that the FCR, not his law firm, is charged with
 the responsibility of determining what is in the best interest of the future talc claimants.
 That responsibility necessarily includes communicating with all constituents, including the
 TCC, the ad hoc committee, the mediators, Johnson & Johnson and the Debtor, so that
 the FCR can make an informed decision on what her ultimate position will be in this

 1
     See, e.g., https://www.reuters.com/legal/government/judge-reports-threats-harassment-over-jj-talc-bankruptcy-
 2022-09-14/, last visited July 16, 2023 (reporting on threatening and harassing communications previously directed
 at the Court as a result of overly aggressive rhetoric).
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 bankruptcy case. The FCR cannot perform her responsibilities to the Court and the future
 claimants without this freedom.

        Mr. Thompson’s outrageous antics appear intended to create sensational
 headlines by surreptitiously taking pictures of the FCR meeting with representatives of
 the Debtor, Johnson & Johnson and the ad hoc committee. Thankfully it appears Mr.
 Thompson has not engaged in gathering pictures of the FCR’s meetings with other
 parties-in-interest in this case such as members of the TCC, including David Molton,
 Judge Melanie Cyganowski (ret.), Lisa Busch, Eric Goodman, and others. Of course,
 unsurprisingly, Mr. Thompson is not interested in these meetings because they do not
 support the false narrative he continues to espouse in an effort to intimidate the FCR and
 undermine her historic appointment.

          Stripping away Mr. Thompson’s harassing, sensational and baseless
 characterizations, MauneRaichle’s Motion seeks to conjure an “appearance of
 impropriety” and, in turn, utilize this fabrication to disqualify the FCR based on the mere
 fact that the FCR communicated with parties-in-interest outside of the courtroom. As Mr.
 Thompson concedes, zero authority exists to support this frivolous position. The FCR,
 like all other parties in this case, is free to meet in both formal and informal settings. The
 FCR is neither a judge nor a sequestered juror. Nor is there any “dual representation” of
 competing interests by the FCR. It is neither remarkable nor surprising that the FCR
 would meet and have conversations with representatives of the Debtor and other parties-
 in-interest, with or without her lawyers present. The FCR is, herself, a lawyer. She is free
 to communicate in her capacity as FCR with any constituents in this case. There is
 nothing improper about that. Rather, the FCR is singularly focused on representing the
 interests of future talc claimants as a class. Very simply, the FCR meeting with parties-
 in-interest to this case does not create any “conflict” or “appearance of impropriety,” nor
 does it remotely justify the FCR’s disqualification, and the Motion is devoid of any authority
 supporting such an outrageous position.

         The Motion is frivolous, malicious, unprofessional and consistent with a prior
 pattern of conduct by Mr. Thompson in this case where filings are made with the apparent
 intent of seeking to intimidate and control the decisions of the FCR. Mr. Thompson seeks
 to justify his abhorrent behavior by paying lip service to the clichéd platitude that his
 actions are not “personal.” Those words may be appropriate in a mobster movie, but they
 have no place in a court document filed by a licensed attorney. Even having to include
 that disclaimer in a legal document is a tacit acknowledgment of inappropriate behavior.
 The FCR will not succumb to or be swayed by Mr. Thompson’s tactics.

        The Court should deny the Motion sua sponte without a hearing. Alternatively,
 MauneRaichle’s Motion should be denied, and the Court should consider whether
 sanctions are appropriate pursuant to Rule 11 of the Federal Rules of Civil Procedure, 28
 U.S.C. § 1927 and/or the Court’s inherent power for filing a frivolous, vexatious and
 malicious motion based on nothing more than underhanded intimidation and harassment
 tactics and misrepresentations. See, e.g., In re Schaefer Salt Recovery, Inc., 542 F.3d
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 90, 101-05 (3d Cir. 2008) (a bankruptcy court has the authority to award sanctions under
 Rule 11, 28 U.S.C. § 1927 and/or its inherent power); see also Hawkins v. Harris, 141
 N.J. 207, 221-22 (1995) (the litigation privilege is not “a license to defame”; “[j]udges and
 lawyers answer to their oaths and are subject to discipline for misconduct in court”)
 (citations omitted).

        We thank the Court for its consideration of this response and ongoing attention to
 this matter.

                                                   Respectfully submitted,

                                                   s/Mark Falk

                                                   Mark Falk
